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                    Exhibit A
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                               UFOLIO Review Level Examples
                                         Version 1.0 │ April 22, 2020


The Conflicts of Interest Program reviews disclosures submitted through UFOLIO by considering various
risk factors and applying a heightened level of scrutiny for disclosure types that commonly present higher
risk. This document illustrates how the COI Program generally applies different levels of scrutiny to
different types of disclosures. The COI Program focuses on key issues and considerations related to various
laws, policies, and guidelines governing the conduct of UF employees, and each disclosure presents unique
circumstances. Even disclosures that generally warrant low level scrutiny may ultimately be disapproved if
circumstances otherwise warrant disapproval (e.g., unacceptab le use of UF resources, excessive time
commitment, etc.). Further, there may b e specific college or department level guidelines that place
additional restrictions on the outside activities and interests of employees. This document is intended for
illustrative purposes only and is not an exhaustive list of disclosure types.

For all disclosure types, the COI Program considers risk factors such as the following:

        Discloser’s authority level at UF.
        Discloser’s authority level at the outside entity.
        Compensation amount or financial interest involved.
        Level of time commitment involved.
        Whether UF resources or students will be involved.
        Whether entity does business with UF.
        Whether the entity or activity will compete with UF programs or services.
        Whether the activity may adversely impact UF’s interests.
        Whether the activity relates to outside research that should be coordinated through UF.
        Whether the entity sponsors discloser’s UF research.
        Whether the entity may license UF technology invented by the discloser.
        Whether the activity may result in the discloser creating intellectual property.
        Whether the activity/interest may impair the discloser’s ability to faithfully fulfill UF
         responsibilities.


Low Scrutiny:
These types of activities are generally approved, absent unusual circumstances.

    1. Writing/Editing/Speaking: Writing or editing a publication or engaging in professional
       speaking activities related to UF expertise. These activities may often be considered part of one’s
       UF assignment (‘inside’ activities), and in such cases should not be reported in UFOLIO.

    2. Expert Witness/Legal Consulting: Serving as an expert witness or legal consultant for a case
       that is not likely to adversely impact UF’s interests. Cases involving healthcare require additional
       review by the Self Insurance Program (SIP) Office.


Moderate Scrutiny:
These types of activities are commonly approved if circumstances warranting higher level scrutiny are
not present. However, these activities often warrant ancillary review, and approval may be contingent
upon mitigation or other conditions (e.g., contractual changes, monitoring plans, etc.).

    1. Employment & Professional Services: Outside employment, consulting, or other professional
       services related to UF expertise that does not otherwise include circumstances listed in the high
       scrutiny level (for example, a College of Medicine physician will be consulting for a
       pharmaceutical company, serving on an advisory board, etc.).
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    2. Leadership Roles: Business leadership roles where the discloser is not involved at UF in
       decisions regarding business between the entity and UF, if any (for example, discloser from the
       College of Law will be serving on the Board of Directors for the National Society of Law
       Professors).

    3. Teaching Appointment: Holding a teaching appointment at an outside entity where the time
       commitment or other responsibilities to the outside entity would not impair discloser from
       faithfully fulfilling all UF responsibilities.


High Scrutiny:
These types of activities are generally the highest risk and subject to the highest level of scrutiny. These
activities may be disapproved if the circumstances are such that the potential conflict cannot sufficiently
be mitigated.

    1. Business with UF: Financial interest in or a leadership, employment, or contractual relationship
       with an outside entity that does business with UF, or that benefits from discloser’s UF affiliation,
       where the relationship does not fit into a statutory exception (for example, discloser has
       ownership in a construction company that is contracting with UF to provide construction services
       to UF).

    2. Intellectual Property (IP): Creating anything in one’s UF field/expertise that is likely to result in
       a patent that should belong to UF pursuant to UF’s IP Policy (for example, discloser from the
       College of Engineering will be engaged by an outside company to assist the company in creating
       a new engineering device).

    3. Research: Outside research activities that should be coordinated through UF as part of one’s UF
       role (for example, discloser from the College of Education will be consulting for another
       institution or company to conduct research activity that is within the scope of the College of
       Education and the discloser’s expertise).

    4. Research Sponsors & IP Licensees: Any outside activity, financial interest, or management
       position in an outside entity that sponsors discloser’s UF work or licenses intellectual
       property/technology from UF (for example, discloser will be doing any consulting for Company
       A, while Company A also sponsor’s discloser’s UF research; or discloser will be consulting for
       Company B, and Company B licenses technology from UF which discloser invented).

    5. Competition: Any activity/interest that would directly compete with programs/services offered
       by UF (for example, discloser will provide outside healthcare services that will directly compete
       with the College of Medicine’s healthcare programs).

    6. International: High risk international issues as determined by UF Research Integrity (for
       example, discloser will be traveling to consult or work for a foreign institution that is on a
       restricted entity list of the U.S. federal government).




Additional Resources: Please visit the Conflicts of Interest Program website for additional resources
related to the UFOLIO system, conflicts of interest, and requirements applicable to UF employees:
www.coi.ufl.edu.
